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                       IN THE UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

 IN RE:
                                                        CHAPTER 11
 TERI G. GALARDI,
                                                        CASE NO. 22-50035-JPS
             Debtor.

       NOTICE OF FIRST AND FINAL APPLICATION OF STICHTER RIEDEL BLAIN &
          POSTLER, P.A. FOR ALLOWANCE OF COMPENSATION, DEADLINE
                         TO OBJECT, AND FOR HEARING

        PLEASE TAKE NOTICE that a First and Final Application of Stichter Riedel Blain &
Postler, P.A. for Allowance of Compensation (the “Application”) has been filed in the above case.
Pursuant to the Application, the Court is requested to allow and award compensation to Stichter
Riedel Blain & Postler, P.A. (the “Law Firm”) as special counsel in Porsche Darden et. al v. Fly
Low, Inc. and Teri Galardi, 20-20592-CIV-SINGHAL (S.D. Fla.) for Thomas T. McClendon, as
Liquidating Trustee of the Galardi Creditors Trust (the “Trustee”), as follows:

       (1)      $1,755.00 in professional fees.

        YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully
and discuss them with your attorney, if you have one in this bankruptcy case. If you do not
have an attorney, you may wish to consult one. If not served with this notice in accordance
with the Bankruptcy Code or the Federal Rules of Bankruptcy Procedure, a copy of the
motion may be obtained upon written request to counsel for the Movant (identified below)
or at the Clerk’s office.

         If you do not want the court to grant the relief sought in the Application or if you want the
court to consider your views on the Application, then you or your attorney shall file with the court
a written objection or response on or before February 23, 2024, pursuant to Fed.R.Bankr.P.
9006(f). If you are receiving this notice by mail, you may add three (3) days to the response date
stated above. The objection or response should be sent to: Clerk, U.S. Bankruptcy Court, Middle
District of Georgia, P.O. Box 1957, Macon, GA 31202, (478) 752-3506.

        If an objection or response is filed, a hearing on the Application shall be held on March 6,
2024, at 11:00 a.m. at the U.S. Bankruptcy Court, Macon Courthouse, Courtroom A, 433
Cherry Street, Macon, Georgia 31201. Parties should consult the Court's website
(www.gamb.uscourts.gov) concerning whether the hearing will be in-person, telephonic, or virtual.
Please refer to Administrative Order #145 for more guidance. If you mail your response or
objection to the Court for filing, you shall send it early enough so that the court will receive the
objection or response on or before the date stated above. Any response or objection shall also
be served on the Movant.
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      If you or your attorney does not take these steps, the court may decide that you do
not oppose the relief sought in the Application and may enter an order granting relief.

      This notice is sent by the undersigned pursuant to LBR 2016(c)(2).

      RESPECTFULLY SUBMITTED this 2nd day of February, 2024.

                                                 JONES & WALDEN LLC

                                                 /s/ Thomas T. McClendon
                                                 Thomas T. McClendon
                                                 Georgia Bar No. 431452
                                                 Liquidating Trustee
                                                 699 Piedmont Avenue, NE
                                                 Atlanta, Georgia 30308
                                                 404-564-9300
                                                 tmcclendon@joneswalden.com
Case 22-50035-JPS       Doc 759     Filed 02/02/24 Entered 02/02/24 16:34:07              Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

 IN RE:
                                                        CHAPTER 11
 TERI G. GALARDI,
                                                        CASE NO. 22-50035-JPS
            Debtor.

              FIRST AND FINAL APPLICATION OF STICHTER RIEDEL BLAIN &
                  POSTLER, P.A. FOR ALLOWANCE OF COMPENSATION

TO:    THE HONORABLE JAMES P. SMITH
       CHIEF JUDGE, U.S. BANKRUPTCY COURT
       MIDDLE DISTRICT OF GEORGIA
       MACON DIVISION

       COMES NOW, Thomas T. McClendon, as Liquidating Trustee of the Galardi Creditors

Trust (the “Trustee”), and files this First and Final Application of Stichter Riedel Blain & Postler,

P.A. for Allowance of Compensation (the “Application”), and requests an award to pay the

Trustee’s special counsel in Porsche Darden et. al v. Fly Low, Inc. and Teri Galardi, 20-20592-

CIV-SINGHAL (S.D. Fla.), Stichter Riedel Blain & Postler, P.A. (the “Law Firm”), for professional

fees, and in support thereof respectfully shows as follows:

       1.      On or about January 27, 2022, (the “Petition Date”), Teri G. Galardi (the “Debtor”)

filed a petition for relief under Chapter 11 of Title 11, United States Code, 11 U.S.C. §§ 101 et

seq. (as amended, modified or supplemented, the “Bankruptcy Code”).

       2.      On April 10, 2023, Debtor filed an Amended Joint Chapter 11 Plan of

Reorganization (Doc. No. 401) (“Plan”). The Plan provided for the Debtor’s establishment of a

liquidating trust for the benefit of the Holders of Class 8 Unsecured Claims and the execution of

a Trust Agreement for the Galardi Creditors Trust (“Trust Agreement”) to be in effect on the

Effective Date of the Plan.
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       3.      On April 14, 2023 (the “Appointment Date”), the Court entered the Order

Confirming Joint Plan of Reorganization (Doc. No. 410) (“Confirmation Order”) confirming the

Plan, authorizing the execution of the Trust Agreement, and appointing the Trustee.

       4.      On April 25, 2023, Debtor and Trustee executed the Trust Agreement.

       5.      The Court has jurisdiction over this Application pursuant to Article 9.1(m) (retention

of jurisdiction over all matters regarding or related to the administration of the Galardi Creditors

Trust) and Section 7.2 of the Trust Agreement.

       6.      Article 4.2 of the Trust Agreement authorizes the Trustee to employ attorneys and

other professionals “whose services may be reasonably necessary or advisable… to advise or

assist [Trustee] in the discharge of his duties… and to pay reasonable compensation” to such

professionals out of the Trust Estate.

       7.      The Trustee has employed the Law Firm as special counsel in Florida for the

Galardi Creditors Trust in the case of Porsche Darden et. al v. Fly Low, Inc. and Teri Galardi, 20-

20592-CIV-SINGHAL (S.D. Fla.).

       8.      Section 7.6(d) of the Liquidating Trust Agreement provides that the Liquidating

Trustee “shall pay out of the Trust Assets, on a monthly basis and without notice or application to

the Bankruptcy Court . . . any reasonable, documented fees and out-of-pocket expenses of

attorneys. . . whom the Liquidating Trustee may reasonably deem advisable to employ in

connection with the Creditors Trust in accordance with the terms of this Trust Agreement.”

       9.      In accordance with this section, the Trustee has not yet paid such fees, and

requests final approval of such fees pursuant to Liquidating Trust Agreement ¶ 7.6(d) (requiring

periodic approval of fees).

   10. This Application seeks allowance of compensation for the Law Firm for services rendered

to the Trustee through January 29, 2024. Copies of Law Firm’s invoices are attached hereto and

incorporated herein by reference as Exhibit “A”. Amy D. Mayer rendered services at the hourly
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rate of $425.00 per hour. Laura Marzano rendered services at the hourly rate of $200.00 per hour.

Susan Jeffcoat rendered services at the hourly rate of $200.00 per hour.

       11.     All services for which compensation is requested have been actually provided to

the Trustee and to no other parties.

       12.     The Law Firm has not previously applied for compensation.

       13.     No agreement or understanding exists between the Law Firm and any other person

for sharing of compensation to be received for services rendered in connection with this case. All

services for which compensation is requested were performed for the Trustee for the benefit of

the Galardi Creditors Trust and not on behalf of Debtor or any other person or persons.

       14.     The Trustee respectfully makes the following representations with regard to the

12-factor Johnson v. Georgia Highway Express, Inc. test (488 F. 2d 714 (5th Cir. 1974)):

        a.     Time and Labor Required: The Law Firm has expended a total of 5.40 law firm

       hours through January 29, 2024, at the following rates:

               Accountant                           Hourly Rate
               Amy D. Mayer                         $425.00
               Laura Marzano                        $200.00
               Susan Jeffcoat                       $200.00

        b.     Novelty and Difficulty of Questions Presented: The Chapter 11 reorganization

       case involves the effort an individual Chapter 11 case, including, ultimately, a plan which

       contemplates an ordinary liquidation. The novelty and difficulty of questions presented are

       those normally associated with a Chapter 11 bankruptcy case.

        c.     Skill Requisite to Perform Legal Services Properly: The Law Firm has the skill

       requisite to perform legal services heretofore rendered in a proper fashion.

        d.     The Preclusion of Other Employment Due to Acceptance of the Case: The time

       expended by the Law Firm in connection with this case could have been devoted to

       matters being handled for other clients but for the time demands placed upon the Law

       Firm by the Law Firm’s involvement in the case.
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          e.    Customary Fee for the Type of Services Rendered: All fees requested by the Law

       Firm were generated by applying the Law Firm’s normal hourly billing rate to the number

       of hours actually expended. Such itemization is detailed on Exhibit “A”. The customary

       compensation for the legal services in connection with a bankruptcy case is upon an hourly

       billing basis.

          f.    Whether Fee is Fixed or Contingent: The Law Firm’s charges are subject to being

       awarded by this Court under 11 U.S. C. § 330. The Fee is thus not truly fixed or contingent

       but has some characteristics of both.

          g.    Time Limitations Imposed by Client or Other Circumstances: Many of the services

       rendered have been performed under exacting time limitations imposed by the nature of

       the case.

          h.    Amount Involved and Results Obtained: The Law Firm represented the Trustee in

       Porsche Darden et. al v. Fly Low, Inc. and Teri Galardi, 20-20592-CIV-SINGHAL (S.D.

       Fla.).

          i.    Experience, Reputation, and Ability of Attorneys:     The Law Firm has had a

       significant amount of experience within the areas involved in this representation.

          j.    Undesirability of the Case: This factor is not normally applicable to a Chapter 11

       case.

          k.    Nature and Length of Professional Relationship with the Client: Law Firm has

       represented the Trust regarding this case since January 12, 2024. At this time, the Trustee

       does not anticipate further representation by the Law Firm.

          l.    Awards in Similar Cases: This Application is in keeping with similar applications

       for Chapter 11 compensation filed by attorneys in bankruptcy cases within this district.

    15.         The Trustee requests an order allowing and awarding the requested fees thereby

authorizing payment of the same.
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       WHEREFORE, the Trustee requests entry of an order granting the Application, authorizing

and awarding fees for the Law Firm in the amount of $1,755.00.

       RESPECTFULLY SUBMITTED this 2nd day of February, 2024.

                                           JONES & WALDEN LLC

                                           /s/ Thomas T. McClendon
                                           Thomas T. McClendon
                                           Georgia Bar No. 431452
                                           Liquidating Trustee
                                           699 Piedmont Avenue, NE
                                           Atlanta, Georgia 30308
                                           404-564-9300
                                           tmcclendon@joneswalden.com
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                               EXHIBIT “A” FOLLOWS
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                                              TAMPA • FORT MYERS • PENSACOLA • DESTIN

B. MICHAEL BACHMAN, JR.                MATTHEW B. HALE                           AMY DENTON MAYER                               DON M. STICHTER
RUSSELL M. BLAIN                       BARBARA A. HART                           CHARLES A. POSTLER                              1929 - 2019
JODI DANIEL DUBOSE                     ELENA PARAS KETCHUM                       HARLEY E. RIEDEL, II                           RICHARD C. PROSSER
DANIEL R. FOGARTY                      STEPHEN R. LESLIE                         MARK F. ROBENS                                  1950 - 2017
                                                                                 SCOTT A. STICHTER                              SUSAN HEATH SHARP
                                                                                                                                 1954 – 2021
                                                                                                                                G. CHRISTOPHER MEYER
                                                                                                                                 1948 – 2023


                                                                                                                   REMIT PAYMENT TO TAMPA
                                                                   January 29, 2024


                                                                           INVOICE
Thomas T McClendon
Jones & Waldon, LLC
699 Piedmont Avenue, NE
Atlanta, GA 30380
USA


Matter:     1
Galardi Creditor'sTrust
Client:     15048
For Professional Services Rendered:
01/12/2024               ADM        Telephone conference with T. McClendon regarding new matter; conflict                                                     1.20
                                    check; draft engagement letter; review and revision of same; review and
                                    revision of stay notice and order; follow-up regarding settlement order; follow-
                                    up regarding filing
01/12/2024               LAM        Conflict check and pulling local rules for the Southern District of Florida                                               0.60
01/23/2024               ADM        Email correspondence regarding call to discuss emergency motion to stay                                                   0.10
                                    Darden action
01/24/2024               ADM        Telephone conference with T. McClendon regarding background status,                                                       0.90
                                    emergency motion for stay; telephone conference with Susan Jeffcoat
                                    regarding need for CON; draft language for motion; telephone conference with
                                    Susan Jeffcoat; follow-up email correspondence regarding notice to chambers
                                    of emergency motion
01/24/2024                SJ        Call with Amy Mayer, review District Court local rules, calls with Tom                                                    1.00
                                    McClendon, filing of emergency motion




110 East Madison Street-Suite 200         1533 Hendry Street- Suite 300                   41 North Jefferson Street-Suite 111         4475 Legendary Drive-Suite 40
Tampa, Florida 33602                      Fort Myers, Florida 33901-1009                  Pensacola, Florida 32502-5669               Destin, Florida 32541-9306
T 813.229-0144                            T 239.939.5518                                  T 850.637.1836                              T 850.460.7676
F 813-229-1811                            F 239.939.5568                                  F 850.791.6545                              F 850.424-6604

                                                                           www.srbp.com
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Matter:         1                                                 Bill # 58950                                                                         Page          2


01/25/2024               ADM         Review pleadings filed by Astrid Gabbe; dictate notice of withrawal of                                                  0.80
                                     emergency motion for stay; review same and forward to client for review;
                                     follow-up regarding filing; dictate response to Gabbe's motion to strike stay
                                     notice and response in opposition to emergency motion for stay; review and
                                     revision of same; forward to client for review; follow-up regarding filing; emails
                                     with client; telephone conference with client in preparation for 1st day hearings
01/25/2024                SJ         Review emails and file, draft withdrawal of motion and forwarding to Amy                                                0.80
                                     Mayer, finalize and file same; draft response to motion to strike and forwarding
                                     to Amy Mayer, finalize and file response

                                                                        Total Professional Services Rendered                                          $1,755.00
                                                                       Recapitulation

                      Name                                                                                               Hours                          Amount
                      Amy D Mayer                                                                                         3.00                        $1,275.00
                      Laura Marzano                                                                                       0.60                         $120.00
                      Jeffcoat, Susan                                                                                     1.80                         $360.00

                      Total For Professional Services Rendered                                                             5.40 Hours                 $1,755.00

                      Adjusted Services Total                                                                                                         $1,755.00



                      Professional Services                                                                                                           $1,755.00

                      Total New Charges This Invoice                                                                                                  $1,755.00

                                                                                                                         Total Due                    $1,755.00




                                    Please reference our Bill #: and Matter #: upon remittance - Thank You




110 East Madison Street-Suite 200          1533 Hendry Street- Suite 300                   41 North Jefferson Street-Suite 111       4475 Legendary Drive-Suite 40
Tampa, Florida 33602                       Fort Myers, Florida 33901-1009                  Pensacola, Florida 32502-5669             Destin, Florida 32541-9306
T 813.229-0144                             T 239.939.5518                                  T 850.637.1836                            T 850.460.7676
F 813-229-1811                             F 239.939.5568                                  F 850.791.6545                            F 850.424-6604

                                                                            www.srbp.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

 IN RE:
                                                          CHAPTER 11
 TERI G. GALARDI,
                                                          CASE NO. 22-50035-JPS
           Debtor.

                                    CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Notice of First and
Final Application of Stichter Riedel Blain & Postler, P.A. for Allowance of Compensation, Deadline
to Object, and for Hearing (“Notice”) and the First and Final Application of Stichter Riedel Blain &
Postler, P.A. for Allowance of Compensation (“Application”) using the Bankruptcy Court’s
Electronic Case Filing program, which sends a notice of and an accompanying link to the Notice
and Application to the following parties who have appeared in this case under the Bankruptcy
Court’s Electronic Case Filing Program:

    •   Michael Akemon mutepe.akemon@richardslegal.com
    •   Mitchell D Benjamin benjamin@dcbflegal.com, jessicasorrenti@dcbflegal.com;
        calendar@dcbflegal.com
    •   Charles Bridgers charlesbridgers@dcbflegal.com, jessicasorrenti@dcbflegal.com;
        calendar@dcbflegal.com
    •   Ainsworth G Dudley adudleylaw@gmail.com
    •   Evan Owens Durkovic ecfgamb@aldridgepite.com, edurkovic@ecf.courtdrive.com
    •   Robert G. Fenimore robert.g.fenimore@usdoj.gov, Ustp.region21.mc.ecf@usdoj.gov
    •   Astrid E. Gabbe astridgabbe@gmail.com
    •   Will Bussell Geer wgeer@rlkglaw.com,
        notices@nextchapterbk.com;willgeer@ecf.courtdrive
        .com;2836@notices.nextchapterbk.com;6717577420@filings.docketbird.com;geer.willb1
        17921@notify.bestcase.com;emiller@rlkglaw.com;jdowardclay@rlkglaw.com
    •   Whitney Warnke Groff whitney.groff@cobbcounty.org
    •   Elizabeth A. Hardy elizabeth.a.hardy@usdoj.gov, Ustp.region21.mc.ecf@usdoj.gov;
        elizabeth.hardy.collins@usdoj.gov
    •   Brian K. Jordan ecfgamb@aldridgepite.com, bjordan@ecf.courtdrive.com
    •   Christina T. Lanier christina.t.lanier@usdoj.gov, southern.taxcivil@usdoj.gov
    •   Jonathan Loegel jonathan@loegel.com
    •   Roy E. Manoll kdd@fbglaw.com
    •   Louis G. McBryan lmcbryan@mcbryanlaw.com, alepage@mcbryanlaw.com
    •   Garrett A. Nail gnail@pgnlaw.com
    •   Jason M. Orenstein jmopclaw@yahoo.com
    •   James D. Silver jsilver@kklaw.com, raldama@kklaw.com
    •   Christopher W. Terry chris@boyerterry.com, terrycr40028@notify.bestcase.com
    •   U.S. Trustee - MAC Ustp.region21.mc.ecf@usdoj.gov

        I further certify that on this day I served a copy of the Notice only on the parties listed on
the attached mailing matrix, via U.S. First Class Mail with adequate postage prepaid:
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      This 2nd day of February, 2024.

                                        JONES & WALDEN LLC

                                        /s/ Thomas T. McClendon
                                        Thomas T. McClendon
                                        Georgia Bar No. 431452
                                        Liquidating Trustee
                                        699 Piedmont Avenue, NE
                                        Atlanta, Georgia 30308
                                        404-564-9300
                                        tmcclendon@joneswalden.com
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Label Matrix for local noticing               AgSouth Farm Credit, ACA
                                                 Document           Page 13 of 20 American Express National Bank
113G-5                                         c/o Fortson, Bentley and Griffin, P.A.     c/o Becket & Lee, LLP
Case 22-50035-JPS                              2500 Daniell’s Bridge Road                 Attn: Kenneth Kleppinger
Middle District of Georgia                     Building 200, Suite 3A                     P.O. Box 3001
Macon                                          Athens, GA 30606-6178                      Malvern, PA 19355-0701
Fri Feb 2 15:49:03 EST 2024
                                                                                          Jones Lang LaSalle Brokerage, Inc.
                                                                                          c/o Paul Hanna
                                                                                          3344 Peachtree Road NE
                                                                                          Suite 1100
                                                                                          Atlanta, GA 30326-4832

Joseph Guernsey dba Red Shield Funding         McNair, McLemore, Middlebrooks & Co, LLC
4681 Carvel Court                              389 Mulberry Street
Myrtle Beach, SC 29588-8615                    P.O. Box One
                                               Macon, GA 31201-7916


                                                                                          Schulten, Ward, Turner & Weiss
                                                                                          260 Peachtree Street, NW
                                                                                          Suite 2700
                                                                                          Atlanta, GA 30303-1240


Smith & Shapiro, PLLC                          Solomon Dwiggins Freer & Steadman, Ltd.    5
3333 E. Serene Avenue                          9060 W. Cheyenne Avenue                    433 Cherry Street
Suite 130                                      Las Vegas, NV 89129-8911                   P.O. Box 1957
Henderson, NV 89074-6571                                                                  Macon, GA 31202-1957


                                                                                          Abri Leahong
                                                                                          P.O. Box 360295
                                                                                          30036
                                                                                          Decatur, GA 30036-0295


                                                                                          Ag South Farm Credit
                                                                                          26 S. Main Street
                                                                                          Statesboro, GA 30458-5256



AgSouth Farm Credit, ACA
c/o Fortson, Bentley and Griffin, P.A.
2500 Daniell’s Bridge Road
Building 200, Suite 3A
Athens, Georgia 30606-6178

                                                                                          Aisha Taliaferro
                                                                                          P.O. Box 360295
                                                                                          Decatur, GA 30036-0295



                                               Alexandra Valcourt                         Alexis King
                                               4200 Northside Parkway                     3328 Fall Branch Ln
                                               1-200                                      Buford, GA 30519-1949
                                               30327
                                               Atlanta, GA 30327-3075
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                                        Ameera Brewer
                                           Document   Page 14 of 20
                                        2134 Hunters Greene Drive
                                        Lakeland, FL 33810-5206



American Arbitration Association        American Express
150 East 42nd Street, 24th Floor        PO Box 981537
New York, NY 10017-5636                 El Paso, TX 79998-1537



Andrea Hilley
4200 Northside Parkway
1-200
30327
Atlanta, GA 30327-3075

Angelica Andrews                        Apeatsiwa Shaw-Taylor              Apple Card / Mastercard
4200 Northside Parkway                  P.O. Box 360295                    P.O. Box 7247
1-200                                   30036                              Philadelphia, PA 19170-0001
30327                                   Decatur, GA 30036-0295
Atlanta, GA 30327-3075

Arielle Moore                           Ashley Armstrong                   Ashley Johnston
4200 Northside Parkway                  P.O. Box 360295                    4200 Northside Parkway
1-200                                   30036                              1-200
30327                                   Decatur, GA 30036-0295             30327
Atlanta, GA 30327-3075                                                     Atlanta, GA 30327-3075

Ashley Langston
4200 Northside Parkway
1-200
30327
Atlanta, GA 30327-3075

Athanasia Angelakis                     Bank of America, N.A.
4200 Northside Parkway                  PO Box 673033
1-200                                   Dallas, TX 75267-3033
30327
Atlanta, GA 30327-3075

                                        Brandie Robertson                  Brittany Gregory
                                        P.O. Box 360295                    P.O. Box 360295
                                        30036                              30036
                                        Decatur, GA 30036-0295             Decatur, GA 30036-0295


Brittany Walker                                                            Business First Bank
P.O. Box 360295                                                            1675 N. Hwy 190
Decatur, GA 30036-0295                                                     Covington, LA 70433-8968



Carlos V. Leach, Esq.                   Caroline Smith
631 S. Orlando Avenue                   4200 Northside Parkway
Suite 300                               1-200
Winter Park, FL 32789-7123              30327
                                        Atlanta, GA 30327-3075
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                                                    Chris Kosachuk
                                                       Document    Page 15 of 20
                                                    854 Pheasant Run Rd.
                                                    West Chester, PA 19382-8144



(p)CITIBANK                                         Cody Heywood                          Cohen & Caproni
PO BOX 790034                                       4200 Northside Parkway                750 Hammond Drive
ST LOUIS MO 63179-0034                              1-200                                 Building 7, Suite 200
                                                    30327                                 Atlanta, GA 30328-5532
                                                    Atlanta, GA 30327-3075

(p)CONTINENTAL SERVICE GROUP LLC   D B A CO                                               Danielle Kossler
PO BOX 7                                                                                  4200 Northside Parkway
FAIRPORT NY 14450-0007                                                                    1-200
                                                                                          30327
                                                                                          Atlanta, GA 30327-3075

Darrell Galardi                                     Decoda Burke
263 N. Mulberry Street                              4200 Northside Parkway
Jackson, GA 30233-1936                              1-200
                                                    30327
                                                    Atlanta, GA 30327-3075

Devonne Washington                                                                        Discover Bank
4200 Northside Parkway                                                                    Discover Products Inc
1-200                                                                                     PO Box 3025
30327                                                                                     New Albany, OH 43054-3025
Atlanta, GA 30327-3075

Discover Card                                       Disney Vacation Club
P.O. Box 30938                                      215 Celebration Place
Salt Lake City, UT 84130-0938                       Kissimmee, FL 34747-5409



                                                    Elisha Morrow                         Elizabeth A. Hardy
                                                    4200 Northside Parkway                Assistant United States Trustee
                                                    1-200                                 Office of United States Trustee
                                                    30327                                 440 Martin Luther King Jr. Blvd.
                                                    Atlanta, GA 30327-3075                Suite 302
                                                                                          Macon, GA 31201-7987
                                                    Estate of Harlan Stuart Miller, III
                                                    970 Walnut St.
                                                    Macon, GA 31201-1919



                                                    Fly Low, Inc.                         Gabrielle Bates
                                                    506 SE 11th Street                    P.O. Box 360295
                                                    Fort Lauderdale, FL 33316-1146        30036
                                                                                          Decatur, GA 30036-0295


(p)OFFICE OF THE ATTORNEY GENERAL OF GEORGIA        (p)GEORGIA DEPARTMENT OF REVENUE
BUSINESS AND FINANCE BANKRUPTCY                     COMPLIANCE DIVISION
40 CAPITOL SQUARE SW                                ARCS BANKRUPTCY
ATLANTA GA 30334-9057                               1800 CENTURY BLVD NE SUITE 9100
                                                    ATLANTA GA 30345-3202
              Case 22-50035-JPS               Doc 759 Filed 02/02/24 Entered 02/02/24 16:34:07 Desc Main
                                                   Gerald Tobin, Esq. Page 16 of 20
                                                      Document                        Grace Gigi Galardi Trust
                                                   4551 Ponce de Leon Blvd.              c/o Kelly Galardi, Trustee
                                                   Coral Gables, FL 33146-1832           2555 Chantilly Drive NE
                                                                                         Atlanta, GA 30324-3712


Hannah Conroy-Philburn                             Heather West                          Holly Paige
4200 Northside Parkway                             4200 Northside Parkway                4200 Northside Parkway
1-200                                              1-200                                 1-200
30327                                              30327                                 30327
Atlanta, GA 30327-3075                             Atlanta, GA 30327-3075                Atlanta, GA 30327-3075

Insolvency                                         Internal Revenue Service              Ivelisse Borges
IRS                                                P.O. Box 7346                         4200 Northside Parkway
P.O. Box 7346                                      Philadelphia, PA 19101-7346           1-200
Philadelphia, PA 19101-7346                                                              30327
                                                                                         Atlanta, GA 30327-3075

JEG FAMILY TRUST-JACK GALARDI, JR SUB-TRUST                                              Jack E. Galardi, LLC
2121 S. HIGHLAND AVENUE                                                                  2555 Chantilly Drive NE
LAS VEGAS, NV 89102-4626                                                                 Atlanta, GA 30324-3712



Jackie Galardi Torres                              Jackson Galardi Trust
3730 Bill Gardner Pkwy                             c/o Kelly Galardi, Trustee
Locust Grove, GA 30248-2442                        2555 Chantilly Drive NE
                                                   Atlanta, GA 30324-3712


Jammie Parker
12 Wallace Street
Greenville, SC 29605-4404



Jenisee Long
2107 Center Street
Covington, KY 41014-1121



                                                   Jessica Harris                        Jessica Ward
                                                   4200 Northside Parkway                4200 Northside Parkway
                                                   1-200                                 1-200
                                                   30327                                 30327
                                                   Atlanta, GA 30327-3075                Atlanta, GA 30327-3075

                                                                                         Julie Milburn
                                                                                         4200 Northside Parkway
                                                                                         1-200
                                                                                         30327
                                                                                         Atlanta, GA 30327-3075

Kaci Phillip                                       Keesha Weems
4200 Northside Parkway                             P.O. Box 360295
1-200                                              Decatur, GA 30036-0295
30327
Atlanta, GA 30327-3075
              Case 22-50035-JPS   Doc 759 Filed 02/02/24 Entered 02/02/24 16:34:07       Desc Main
                                       Krystall Wright
                                          Document     Page 17 of 20
                                       4200 Northside Parkway
                                       Building 1, Suite 200
                                       Atlanta, GA 30327-3007


Latoya Hughes                          Limberly Kelly                     Lindsey Croome
4200 Northside Parkway, 1-200          4200 Northside Parkway             4200 Northside Parkway
Atlanta, GA 30327-3075                 1-200                              1-200
                                       30327                              30327
                                       Atlanta, GA 30327-3075             Atlanta, GA 30327-3075

                                                                          Marei Kahey
                                                                          P.O. Box 360295
                                                                          30036
                                                                          Decatur, GA 30036-0295


Maria Bush                                                                Marissa Walker
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30036                                                                     30036
Decatur, GA 30036-0295                                                    Decatur, GA 30036-0295


                                       Marleeka Williams
                                       4200 Northside Parkway
                                       1-200
                                       30327
                                       Atlanta, GA 30327-3075

                                       Marqueta Ward                      Marquita Ward
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                                       30036                              Miami, FL 33168-3746
                                       Decatur, GA 30036-0295


Marsha Taylor                                                             Mary Alexander
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Decatur, GA 30036-0295                                                    1-200
                                                                          30327
                                                                          Atlanta, GA 30327-3075

Michael Porter                                                            Montoyo Minnis
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Flovilla, GA 30216-2318                                                   Decatur, GA 30036-0295



                                       Natasha Dejesus
                                       4200 Northside Parkway
                                       1-200
                                       30327
                                       Atlanta, GA 30327-3075

Nicolette Groebli                      Nikki Simmons
4200 Northside Parkway                 4200 Northside Parkway
1-200                                  1-200
30327                                  30327
Atlanta, GA 30327-3075                 Atlanta, GA 30327-3075
              Case 22-50035-JPS   Doc 759 Filed 02/02/24 Entered 02/02/24 16:34:07       Desc Main
(p)POWER FINANCIAL CREDIT UNION          Document    Page 18 of 20
ATTN MAG DEPARTMENT
2020 NW 150TH AVE SUITE 100
PEMBROKE PINES FL 33028-2890


                                                                          Rachel Konke
                                                                          4200 Northside Parkway
                                                                          1-200
                                                                          30327
                                                                          Atlanta, GA 30327-3075

Rasheedah Mays                         Rasheedah Mays
4200 Northside Parkway                 480 Dasheill Lane
1-200                                  Atlanta, GA 30349-1741
30327
Atlanta, GA 30327-3075

Rebekah Reschar                                                           Robert G. Fenimore
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30327                                                                     440 Martin Luther King Jr. Blvd.
Atlanta, GA 30327-3075                                                    Suite 302
                                                                          Macon, GA 31201-7987
                                       Royce G. Vandever Trust            Sahra Ahmed
                                       c/o Kelly Galardi, Trustee         4200 Northside Parkway
                                       2555 Chantilly Drive NE            1-200
                                       Atlanta, GA 30324-3712             30327
                                                                          Atlanta, GA 30327-3075

Samantha Holdren                       Samantha Matecka                   Sarah Riedel
4200 Northside Parkway                 4200 Northside Parkway             970 Walnut St.
1-200                                  1-200                              Macon, GA 31201-1919
30327                                  30327
Atlanta, GA 30327-3075                 Atlanta, GA 30327-3075




                                       Shakir Williams
                                       13015 SW 117th Terrace
                                       Miami, FL 33186-4651




                                       Shelley O’Neill                    Southern States Bank
                                       4200 Northside Parkway             4045 Orchard Road SE, Suite B
                                       1-200                              Smyrna, GA 30080-4902
                                       30327
                                       Atlanta, GA 30327-3075
              Case 22-50035-JPS   Doc 759 Filed 02/02/24 Entered 02/02/24 16:34:07 Desc Main
                                         Document    Page 19 of 20        Tara Steinberg
                                                                         4200 Northside Parkway
                                                                         1-200
                                                                         30327
                                                                         Atlanta, GA 30327-3075

The Estate of Jack Galardi             Tiffany Thompson
c/o Teri Galardi, Executor             6531 S. Sepulveda Blvd.
2146 Highway 42 South                  #216
Flovilla, GA 30216-2318                Los Angeles, CA 90045-1508


                                       Trinidad Creations, LLC           Trop, Inc.
                                       2121 SO. Highland Ave             2555 Chantilly Drive NE
                                       Las Vegas, NV 89102-4626          Atlanta, GA 30324-3712



U.S. Attorney General                                                    U.S. Department of Treasury
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Washington, DC 20530-0009


                                       Verizon                           Veronica Frascone
                                       by American InfoSource as agent   4200 Northside Parkway
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                                       Houston, TX 77210-4457            30327
                                                                         Atlanta, GA 30327-3075

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              Case 22-50035-JPS   Doc 759 Filed 02/02/24 Entered 02/02/24 16:34:07 Desc Main
Desiree U. Jones                       Diana Smith
                                          Document   Page 20 of 20        Ebony Mayfield
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Decatur, GA 30036-0295                 Hallandale, FL 33009-6335             Decatur, GA 30036-0295



Marquisha Holmes                                                             Quiana Dopoe
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                                                                             Teri G. Galardi
                                                                             2146 Highway 42 South
                                                                             Flovilla, GA 30216-2318



                                       Toni M. Schwahn, CPA, CFE             Tramaine Moore
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                                       McDonough, GA 30253-9103
